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                          UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


 CHARLES D. MAYE

        Petitioner,

 v.                                                      Case No. 8:07-CV-1258-T-30EAJ
                                                         Crim. Case No. 8:04-CR-321-T-30EAJ
 UNITED STATES OF AMERICA,

       Respondent.
 _______________________________/

                                           ORDER

        THIS CAUSE comes before the Court upon Charles Maye’s (hereinafter referred to

 as “Maye” or “Petitioner”) Amended Motion to Vacate, Set Aside, or Correct Sentence

 Pursuant to 28 U.S.C. § 2255 (CV Dkt. #8) filed on August 7, 2007, the Government’s

 Response (CV Dkt. #14), and Petitioner’s Reply (CV Dkt. #24). The Court concludes that

 this motion is due to be summarily denied without an evidentiary hearing because it plainly

 appears from the record that Petitioner is entitled to no relief.

                                         Background

         On December 16, 2004, a grand jury returned a five-count Superseding Indictment

 against co-defendants Maye and Leroy Collins (hereinafter referred to as “Collins” or “co-

 defendant”). The counts pertaining to Maye charged him with the following crimes:

        Count One: conspiracy to intentionally access a computer without
        authorization and in excess of authorization, to obtain information from a
        department or agency of the United States, for the purpose of private financial
        gain and in furtherance of criminal acts of extortion in violation of 18 U.S.C.
        § 1030(a)(2)(B) and knowingly and willfully making materially false
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        statements to an FBI agent, in violation of 18 U.S.C. § 1001(a)(2), all in
        violation of 18 U.S.C. § 371;

        Counts Two and Four: intentionally accessing a computer – the NCIC
        (National Crime Information Center) computer database – without
        authorization and in excess of authorization, to obtain information from a
        department or agency of the United States, for the purpose of private financial
        gain and in furtherance of criminal acts of extortion in violation 18 U.S.C. §
        1030(c)(2)(B)(i) and (ii) and 18 U.S.C. § 2; and

        Count Five: knowingly and willfully making false statements during an
        interview with a Special Agent of the FBI, in violation of 18 U.S.C. §
        1001(a)(2).


 (CR Dkt. #6). The co-defendants requested and received a total of three trial continuances:

 two by Maye (CR Dkt. #48 and 64) and one by Collins (CR Dkt. #54). Maye also executed

 three speedy trial waivers (CR Dkt. #60, 65, and 77). Trial commenced on March 27, 2006,

 and on April 7, 2006, the jury found Maye guilty of all charges (CR Dkt. #152). On July 21,

 2007, the Court sentenced Maye to 97 months imprisonment, 36 months of supervised

 release, and a $15,000 fine. (CR Dkt. #166). Maye filed a notice of appeal (CR Dkt. #168)

 which he later voluntarily dismissed (CR Dkt. #177).

        Maye now moves to vacate his sentence based on his claim of ineffective assistance

 of his privately retained counsel. He raises nine grounds in support of his claim, to wit:

        Ground One: Counsel failed to object to the introduction of prejudicial
        evidence at trial.

        Ground Two: Counsel failed to move for dismissal of the Superceding
        Indictment prior to trial despite the lack of “ends of justice” findings by the
        Court when granting Maye’s requests for continuances.



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        Ground Three: Counsel failed to move for dismissal of the Superceding
        Indictment even though it “substantially broadened” the original charges.

        Ground Four: Counsel failed to raise a claim of prosecutorial misconduct.

        Ground Five Counsel failed to call key defense witnesses to testify.

        Ground Six: Counsel failed to “flesh out” Government witness Gregory
        Brown’s bias against Maye.

        Ground Seven: Counsel was ineffective due to the cumulative prejudicial
        effects of the alleged errors set forth in Grounds 1, 4, 5, and 6.

        Ground Eight: Maye’s claim of “actual innocence” allows the foregoing
        grounds to be heard in the current Motion despite the failure to raise them on
        direct appeal.

        Ground Nine: Counsel was ineffective in advising Maye that he had no
        appealable issues after trial.


                                            Facts

        Maye met Collins in the early 1990s. Collins was a prominent businessman who

 owned a mobile home park and would often assist law enforcement. Maye even worked for

 Collins at the mobile home park as a manager, making repairs and collecting rent. Collins

 paid Maye for this work and the two had an ongoing financial relationship.

        When the two men met, Collins was in the midst of a fifteen-year romantic

 relationship with Linda Bobo (hereinafter referred to as “Bobo”). That relationship ended in

 1996, however, and Bobo began a new relationship with James McLemore (hereinafter

 referred to as “McLemore”). Several months later, Maye began to access the National Crime

 Information Center (NCIC) and Florida Crime Information Center (FCIC) databases to


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 acquire restricted and private information about Bobo–allegedly at Collins’ request. Maye

 also pulled over Bobo’s vehicle and gave her a warning for driving without a license, which

 was then suspended. He also issued her a traffic citation in a subsequent stop.

        Maye testified at trial that he accessed the databases as part of an ongoing

 investigation of alleged drug dealing by Bobo. He claimed that Collins told him about the

 drug dealing, that Bobo’s driver’s license was suspended, and that Bobo trafficked her drugs

 between Bradenton/Sarasota and her home. Maye also claimed that he asked Collins to get

 McLemore’s tag number so that Maye could pass it along to the street crimes unit. Most

 importantly, Maye testified that he never passed confidential information about Bobo to

 Collins.

        Despite Maye’s alleged discretion, Collins still found Bobo’s address (which she had

 been concealing from him) and caused her home to be burglarized. Collins and his cohorts

 – Willie McCrary (hereinafter referred to as “McCrary”) and “Little Willie” – claimed that

 Maye ran McLemore’s tag for them after the three men spotted McLemore’s vehicle at the

 Touch of Class Lounge in Bradenton. Maye apparently provided Collins with McLemore’s

 home address as well, and shortly thereafter Collins, McCrary and “Little Willie” went to

 that address and spoke with McLemore’s then-estranged wife.

        On June 16, 1996, Bobo and McLemore were returning to their home when

 McLemore was shot and wounded with a shotgun blast in a drive-by shooting. The vehicle

 described was similar to that owned by Collins at the time. McLemore was taken to Brandon

 Regional Hospital, which Collins called several days later and spoke to Bobo. Collins sought

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 to persuade Bobo to leave McLemore, but Bobo refused. Soon thereafter, Bobo and

 McLemore moved to a different address.

        Between June 17, and September 8, 1996, Maye continued to access the NCIC and

 FCIC databases concerning Bobo with some frequency. Specifically, he ran searches on

 Bobo on July 9, 1996; July 12, 1996; July 26, 1996; September 2, 1996; and September 3,

 1996. Maye also requested Bobo’s official driving record from the Florida Department of

 Highway Safety and Motor Vehicles.

        In September 1996, Collins had dinner with Bobo and threatened harm to McLemore

 if she refused to leave him. Bobo declined to do so. Collins said that “they’d get him to

 leave,” and told Bobo that “he’ll go if I put enough fire up his ass.”A few days later, as Bobo

 and McLemore were again leaving the Touch of Class Lounge, Collins shot McLemore in

 the head, killing him.

        Between September 9, 1996, and November 3, 1996, Collins and Maye again

 attempted to locate Bobo. Collins and Bobo had a conversation (which was recorded) three

 days after the murder in which Collins continued to attempt to lure Bobo back into a

 relationship with him. He also claimed to have access to computer databases.

        Some time afterward, Collins told McCrary that Maye was going to put Bobo in jail.

 Maye later stopped Bobo yet again for driving with a suspended license, but this time placed

 her under arrest. Collins paid Bobo’s bond and attempted to take her from jail. However,

 Bobo refused to leave with him.



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        On November 24, 1996, Bobo was leaving the Touch of Class Lounge when a man

 threw an unidentified caustic substance into her face, blinding her. At trial, the Government

 claimed that Collins arranged for this tragedy to occur. It also claimed that Maye made false

 and misleading statements to officials from the Florida Department of Law Enforcement

 (FDLE) and the Palmetto Police Department (PPD) to cover up his involvement in the

 conspiracy.

        The conspiracy did not end there. In July 1999, Maye also accessed the NCIC and

 FCIC databases to acquire restricted or private information about another of Collins’ former

 lovers, Angeletta Hill Benavidez Williams (hereinafter referred to as “Hill”). Maye, Collins,

 and Collins’ son even went in person to Hill’s home to help Collins take Hill’s truck.

        On August 6, 2003, Collins accosted yet another former lover, Veronica Smith

 (hereinafter referred to as “Smith”), at McCrary’s residence. Collins attempted to force Smith

 to disclose her home address, but she refused. A few days later, Maye searched for Smith in

 the NCIC and FCIC databases to acquire restricted or private information. He attempted to

 justify the search by claiming that it was in conjunction with an ongoing investigation.

 However, Government witness Gregory Brown later testified that there was no proof of any

 such investigation.

                                          Discussion

 I.     Actual Innocence

        The Court will first address Petitioner’s contention that a claim of “actual innocence”

 allows arguments to be heard even if they were not raised on direct appeal. Petitioner is of

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 course correct that establishing actual innocence occasionally authorizes collateral review

 of procedurally defaulted claims. Bousley v. U.S., 523 U.S. 614, 624 (1998) (citing 28

 U.S.C.A. § 2255) (Petitioner's claim may still be reviewed in [a] collateral proceeding if he

 can establish that the constitutional error in his plea colloquy “has probably resulted in the

 conviction of one who is actually innocent”); House v. Bell, 126 S.Ct. 2064, 2066-67 (2006)

 (prisoners can assert actual innocence as a “gateway to defaulted claims” in light of new

 evidence that arises after trial). However, Petitioner must still “demonstrate that, ‘in light of

 all the evidence,’ it was more likely than not that no reasonable juror would have convicted

 him” at trial. See Bousley, 523 U.S. at 623. This standard “ensures that [a] petitioner's case

 is truly ‘extraordinary,’ while still providing petitioner a meaningful avenue by which to

 avoid a manifest injustice.” Bell, 126 S.Ct. at 2077 (quoting McCleskey v. Zant, 499 U.S.

 467, 494 (1991)).

        Here, Petitioner fails to meet the exceptionally high standard for “actual innocence”

 claims set forth in Bell, 126 S.Ct. 2064. Petitioner bases his claim on the results of a

 polygraph test conducted after his conviction, contending that this new evidence “proves”

 his innocence (CV Dkt. #8 at 38-39).

        The Court disagrees. Although “the district court is not bound by the rules of

 admissibility that would govern at trial,” and instead should consider “the probative force of

 relevant evidence that was either excluded or unavailable at trial,” Schlup v. Delo, 513 U.S.

 298, 327-28 (1995), Petitioner still fails to demonstrate that “no reasonable juror would have

 convicted him” had the polygraph evidence been available at trial. The Government

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 presented a formidable case against Petitioner, and the polygraph results (a mere four

 questions) were not so “truly extraordinary” that no reasonable juror would have disbelieved

 the evidence that was presented at trial. See id. at 854-58 (“truly extraordinary” evidence

 presented by death row inmate conclusively proved his innocence of murder charges).

        Because Petitioner fails to meet the high standard for “actual innocence” claims, the

 Court will deny his motion as to this ground.

 II.    Ineffective Assistance of Counsel

        Petitioner’s primary contention is that he received ineffective assistance of counsel

 at trial. To succeed on such a claim, Petitioner must show that (1) counsel's performance was

 deficient due to “errors so serious that counsel was not functioning as the ‘counsel’

 guaranteed [Petitioner] by the Sixth Amendment”; and (2) the deficient performance

 prejudiced Petitioner. Strickland v. Washington, 466 U.S. 668, 687 (1984). The failure to

 raise a meritless claim does not render a counsel’s performance deficient. Chandler v. Moore,

 240 F.3d 907, 917-18 (11th Cir. 2001) (counsel not ineffective for failing to raise a

 nonmeritorious issue).

        Here, Petitioner bases his claim on eight distinct grounds:

 Ground One

        Petitioner first claims that his counsel was ineffective for failing to object to the

 introduction of prejudicial evidence at trial. Specifically, Petitioner objects to the

 “introduction of evidence at trial related to the blinding of Linda Bobo and the first and

 second . . . shooting[s] of James McLemore” even though the charges against him were

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 essentially computer crimes. The Government responds that “these violent acts were

 introduced because they were part of the extortion of [Collins’ ex-girlfriends] committed by

 Collins and Maye during the scope of and in furtherance of the conspiracy charged in Count

 One of the superseding indictment” (CV Dkt. #14).

        The Court agrees with the Government’s assessment of the evidence. The blinding of

 Linda Bobo and the shootings of James McLemore were directly relevant to the charges

 levied against Maye, as 18 U.S.C. § 371(3) requires the government to demonstrate “the

 commission of an overt act in furtherance of the conspiracy.” United States v. Harmas, 974

 F.2d 1262, 1267 (11th Cir. 1992) (quoting United States v. Cure, 804 F.2d 625, 628-30 (11th

 Cir. 1986)). Those acts were also relevant to showing motive, a reason for the conspiracy.

 Because the evidence was relevant, counsel would not have succeeded in excluding it even

 if he had objected. Thus, Petitioner’s counsel was not deficient in failing to object and

 Petitioner was not prejudiced..

 Ground Two

        Petitioner next contends that his counsel was ineffective for failing to move for

 dismissal of the Superceding Indictment despite the lack of “ends of justice” findings by the

 Court when granting Petitioner’s requests for continuances. The Court disagrees. Although

 the Supreme Court recently held that subsection (h)(8)(A) of the Speedy Trial Act “require[s]

 that [district courts] make express findings on the record about the ends-of-justice balance,”

 Zedner v. U.S., 126 S.Ct. 1976, 1989 (2006), its decision was not handed down until June

 5, 2006–nearly two months after Maye was convicted. Case law at that time gave no

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 indication that any such on-the-record finding was required, especially when the defense

 itself requests the continuance. See United States v. Brown, 2007 WL 470445, *2 (M.D.Fla.

 2007) (“belief that continuances were valid and properly tolled the running of speedy trial

 . . . [was] a reasonable pre- Zedner assumption”); see also U.S. v. Twitty, 107 F.3d 1482,

 FN5 (11th Cir. 1997) (“[a]lthough the district court did not cite any reasons for granting these

 [“ends-of-justice”] requests, the grounds cited in the motions plus the court's grant of a

 continuance as requested support the inference that the continued delay was to serve the ends

 of justice”). Because attorneys cannot be expected to anticipate future changes in the law,

 see Davis v. Singletary, 119 F.3d 1471, 1476 (11th Cir. 1997), counsel’s performance

 was not deficient because of his failure to do so.

        Furthermore, the ends of justice did justify granting the continuances. Not only did

 Petitioner himself request two of the three continuances, and his co-defendant the third, they

 were granted in order to afford counsel sufficient time to prepare for the fact-intensive trial.

 In fact, Petitioner’s counsel even stated in his first request for a continuance that, “[i]n order

 to render effective assistance of counsel to Mr. Maye, it is absolutely imperative that the

 undersigned understand the intricacies of the data system of the [NCIC] and the [FCIC] and

 the Hillsborough County Sheriff’s Office.” Petitioner is disingenuous to now claim that what

 his counsel did in his best interests was somehow indicative of deficient performance, and

 the Court denies relief on the second ground.




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 Ground Three

        Petitioner’s third contention is that his counsel was ineffective for failing to move for

 dismissal of the Superceding Indictment even though it “substantially broadened” the original

 charges. Specifically, Petitioner argues that the Superceding Indictment–which broadened

 the charges in the original Indictment from two substantive offense counts to an eight-year

 conspiracy–did not afford him sufficient notice of the charges he would face.

        The Court disagrees. Petitioner clearly misunderstands the Eleventh Circuit’s holding

 in U.S. v. Ratliff, 245 F.3d 1246 (11th Cir. 2001), in which the Court’s key concern was

 whether a “substantially broadened” superceding indictment filed after the tolling of the

 statute of limitations deprived the defendant of sufficient notice. See id. at 1253. Indeed, the

 Court noted that:

        Notice to the defendant is the central policy underlying the statutes of
        limitation. If the allegations and charges are substantially the same in the old
        and new indictments, the assumption is that the defendant has been placed on
        notice of the charges against him. That is, he knows that he will be called to
        account for certain activities and should prepare a defense.

 Id. (quoting United States. v. Italiano, 894 F.2d 1280, 1282 (11th Cir. 1990) (holding that “[a]

 superseding indictment brought after the statute of limitations has expired is valid so long

 as the original indictment is still pending and was timely and the superseding indictment does

 not broaden or substantially amend the original charges” (emphasis added)).

        Here, Ratliff does not apply because the Government brought both indictments within

 the statute of limitations. Because the Petitioner had sufficient notice to apprise him of the

 charges against him, the Court denies Petitioner’s motion as to this ground.

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 Ground Four

        Petitioner next claims that his counsel was ineffective for failing to raise a claim of

 prosecutorial misconduct. In particular, Petitioner alleges that the following acts by the

 Government were improper:

        (A)    Repeated references and testimony relating to murder and violent acts;
        (B)    The introduction of a taped conversation between Bobo and Collins;
        (C)    Allegations regarding Maye’s attempts to locate Bobo’s address for
               Collins on certain dates; and
        (D)    Allegations regarding Maye’s attempts to locate Hill’s address for
               Collins.

 For reasons set forth below, the Court disagrees with each allegation.

        As to subsection (A), the Court previously noted in responding to Ground One that

 references and testimony relating to murder and violent acts were relevant to the charges

 brought against Petitioner. The Government did not introduce such evidence solely to

 inflame the passions of the jury.

        As to subsection (B), the Court finds that it was not misled by the Government when

 it admitted the taped conversation between Collins and Bobo. Petitioner claims that the

 Government committed misconduct when it promised “McCrary would testify that Collins

 had Maye run the ‘rap sheet’ of James McLemore in order to ‘follow up’ on McLemore’s

 shooting” (CV Dkt. #8), but then McCrary never did. However, McCrary did testify that (1)

 Collins provided Maye with McLemore’s tag number; (2) Maye provided Collins with

 McLemore’s home address; and (3) a week later, he, Collins, and “Little Willie” accosted




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 McLemore’s wife at that address. See Transcript of Record at 50-54 (March 29, 2006). The

 Court finds no misconduct regarding the tape’s introduction.

        As to subsection (C), the Superceding Indictment alleges that Petitioner attempted to

 locate Bobo between June 17, 1996, and September 8, 1996, not on those dates in particular.

 After all, the Government was more concerned with demonstrating an ongoing conspiracy

 than a few independent acts. Thus, Petitioner’s claim that he could not possibly have

 attempted to locate Bobo on those exact dates misses the point.

        Finally, as to subsection (D), Petitioner’s claim that he ran Hill’s tag for law

 enforcement purposes was for the jury to believe or disbelieve. Petitioner contends that he

 ran the tag because he observed “a strange vehicle, unknown to [him]” at the mobile home

 park that he managed. However, Collins testified that Petitioner ran the tag at his request.

 Thus, the Government clearly did not “know” that its claim was false.

        Because Petitioner’s prosecutorial misconduct claims are meritless, his counsel was

 not ineffective for failing to raise them at trial. The Court denies relief as to the fourth

 Ground.

 Ground Five

        Petitioner’s fifth contention is that his counsel was ineffective for failing to call key

 defense witnesses to testify. However, the failure to call particular witnesses which the

 Petitioner thinks would be helpful is generally not considered ineffective assistance of

 counsel. See Hardwick v. Crosby, 320 F. 3d 1127, 1161 (11th Cir. 2003). Calling witnesses

 is a strategic choice, Conklin v. Schofield, 366 F. 3d 1191, 1204 (11th Cir. 2004), which

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 courts usually avoid second-guessing. See generally Adams v. Wainwright, 709 F.2d 1443,

 1445 (11th Cir. 1983) (trial strategy only amounts to ineffective assistance of counsel “if it

 was so patently unreasonable that no competent attorney would have chosen it").

        Additionally, Petitioner fails to meet his burden of proving objectively deficient

 performance, see generally United States v. Cronic, 466 U.S. 648, 658 (1984), let alone

 resulting prejudice. After all, Petitioner (1) never gave the names of the alleged witnesses to

 his counsel; (2) provided no statements from those witnesses indicating that they would

 corroborate his claims; (3) still presented witnesses at trial and had the opportunity to cross-

 examine government witnesses; and (4) testified himself at length in his own defense. His

 claims of would-be testimony are inconcrete and self-serving, and do not provide the Court

 with a reasonably objective basis to judge their merits. Because counsel presented a thorough

 defense, the Court will not engage in an ex post facto questioning of his strategy.

 Ground Six

        Petitioner next alleges that his counsel was ineffective for failing to “flesh out”

 Government witness Gregory Brown’s bias against him. Indeed, Petitioner’s counsel

 confined his questioning of Brown to changes made to the police databases over the years.

 See Transcript of Record at 18-20 (March 31, 2006). Nevertheless, the Court refuses to

 second guess his counsel’s tactical decisions in cross-examination. See Strickland, 466 U.S.

 at 689-90 (“counsel cannot be adjudged incompetent for performing in a particular way in

 a case, as long as the approach taken might be considered sound trial strategy”). Cross-

 examination is an art, not a science, and counsel could have reasonably concluded that

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 accusing the witness (a Colonel in the police force, no less) of impropriety would prejudice

 Petitioner.

        Thus, the Court declines to grant Petitioner’s motion as to this ground.

 Ground Seven

        Petitioner’s seventh contention is that his counsel was ineffective due to the

 cumulative prejudicial effects of the alleged errors set forth in Grounds 1, 4, 5, and 6. The

 Court again disagrees. Grounds 1,4,5, and 6 are meritless when considered separately, and

 do not gain credibility simply because Petitioner now groups them together. Thus, Petitioner

 has no claim for relief under the “cumulative prejudicial effects” rationale.

 Ground Nine

        Petitioner’s final claim is that his counsel was ineffective in advising that there were

 no appealable issues after trial. Petitioner contends that there were actually three such issues:

 (1) Government’s prejudicial references to violent acts (Ground 4(A)); (2) admission of the

 audio tape (Ground 4(B)); and (3) prosecutorial misconduct (Ground 4 generally). The

 Government again counters that the claims are meritless.

        The Court agrees with the Government. Even assuming Petitioner’s allegation

 regarding his counsel to be true, his counsel acted reasonably in dissuading Petitioner from

 raising meritless claims on appeal. Because raising these issues (which the Court rejected

 under Ground Four) would not have altered Petitioner’s fortunes, Petitioner again fails to

 demonstrate any deficiency of counsel or resulting prejudice. Thus, the Court declines to

 grant Petitioner’s motion as to this final ground.

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          It is therefore ORDERED AND ADJUDGED that:

          1.       Petitioner’s Amended Motion to Vacate, Set Aside, or Correct Sentence

  Pursuant to 28 U.S.C. § 2255 (CV Dkt. #8) is DENIED.

          2.       The Clerk is to enter judgment for Respondent, United States of America,

  terminate any pending motions, and close this case.

          3.       The Clerk is directed to terminate the pending Motion to Vacate, Set Aside,

  or Correct Sentence (CR Dkt. #206) in the corresponding criminal case 8:04-cr-321-T-

  30EAJ.

          DONE and ORDERED in Tampa, Florida on February 13, 2008.




  Copies furnished to:
  Counsel/Parties of Record

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